Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 1 of 38




          EXHIBIT A
                     Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 2 of 38




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20837071
Notice of Service of Process                                                                            Date Processed: 12/16/2019

Primary Contact:           Sheryl Arneson
                           3M Company
                           3M Center
                           Bldg 220-9E-02 220-10W/F06
                           Saint Paul, MN 55144-1000

Electronic copy provided to:                   Gwen Bernardy-Bauer
                                               Canhnha Luu

Entity:                                       3M Company
                                              Entity ID Number 3571748
Entity Served:                                3M Company
Title of Action:                              Jarrod Johnson vs. 3M Company
Matter Name/ID:                               Jarrod Johnson vs. 3M Company (9853442)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Floyd County Superior Court, GA
Case/Reference No:                            19CV02448JFL003
Jurisdiction Served:                          Georgia
Date Served on CSC:                           12/13/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Ryals D. Stone
                                              404-239-0305

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
        Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 3 of 38




                      IN THE SUPERIOR COURT OF FLOYD COUNTY
                                 STATE OF GEORGIA

JARROD JOHNSON individually, and on
Behalf of a Class of persons similarly
Situated,                                           Civil Action Number:

       Plaintiff,                                   19CV02448JFL003

V.                                                  TRIAL BY JURY REQUESTED

3M COMPANY, et al.

       Defendants.

                                          SUMMONS

TO THE ABOVE-NAMED DEFENDANT:

       3M COMPANY
       c/o Corporation Service Company
       40 Technology Pkwy South #300
       Norcross, Gwinnett County, GA 30092

        You are hereby summoned and required to file with the Clerk of said Court and serve upon
Plaintiffls counsel, whose name and address is:

       Ryals D. Stone
       STONE LAW GROUP
       5229 Roswell Road NE
       Atlanta, Georgia 30342
       TEL 404-239-0305
       FAX 404-445-8003
       R. Stone email: ryals@stonelaw.com

an answer to the Complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
be taken against you for the relief demanded in the complaint.
           2sTH
       This     day of November, 2019.

                                             CLERK OF SUPERIOR COURT

                                                   /s/ Heather Churchill
                                                 Deputy Clerk
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 4 of 38
                                                                         E-filed for Record
                                                                        11/26/2019 3:19 PM
                                                                         Floyd County, GA

                   IN THE SUPERIOR COURT OF FLOYD COUNTY
                              STATE OF GEORGIA

JARROD JOHNSON individually, and on )
Behalf of a Class of persons similarly )
Situated, _                            )
                                       )
       Plaintiff,                      )
                                       )
V.                                     1

3M COMPANY; ALADDIN               )
MANUFACTURING CORPORATION; )                                  19CV02448J FL003
APRICOT INTERNATIONAL, INC.;      )        Civil Action No.
ARROWSTAR, LLC; DALTONIAN         )
FLOORING, INC.; DEPENDABLE        )
RUG MILLS, INC.; DORSETT          )        TRIAL BY JURY REQUESTED
INDUSTRIES, INC.; DYSTAR, L.P.;   )
ECMH, LLC d/b/a CLAYTON           )
MILLER HOSPITALITY CARPETS;       )
E.I. DU PONT DE NEMOURS AND       )
COMPANY; EMERALD CARPETS, INC.; )
ENGINEERED FLOORS, LLC;           )
FORTUNE CONTRACT, INC.;           )
HARCROS CHEMICALS, INC.; INDIAN )
SUMMER CARPET MILLS, INC.;        )
INDUSTRIAL CHEMICALS, INC.;       )
LEXMARK CARPET MILLS, INC.;     )
LYLE INDUSTRIES, INC.; MFG        )
CHEMICAL, INC.; MILLIKEN &        )
COMPANY; MOHAWK CARPET, LLC; )
MOHAWK INDUSTRIES, INC.;          )
NPC SOUTH, INC.; ORIENTAL         )
WEAVERS USA, INC.;                )
S & S MILLS, INC.;                )
SHAW INDUSTRIES, INC.; SHAW       )
INDUSTRIES GROUP, INC.; TANDUS )
CENTIVA, INC.; TANDUS CENTIVA )
US, LLC; TARKETT, INC.;           )
TARKETT USA, INC.; THE CHEMOURS )
COMPANY; THE DIXIE GROUP, INC.; )
THE SAVANNAH MILLS GROUP, LLC; )
VICTOR CARPET MILLS, INC.;        )
Q.E.P. CO., INC.; and             )
FICTITIOUS DEFENDANTS A-J,        )
those persons, corporations,      )
       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 5 of 38
                                                                                         E-filed for Record
                                                                                        11/26/2019 3:19 PM
                                                                                         Floyd County, GA

partnerships or entities who acted
either as principal or agent,
for or in concert with the other named
Defendants and/or whose acts caused
or contributed to the damages sustained
by the Plaintiff, whose identities are
unknown to the Plaintiff, but which
will be substituted by amendment
when ascertained,

       Defendants.                             )

                                           COMPLAINT

       Plaintiff, Jarrod Johnson, brings this Complaint on behalf of himself and on behalf of a

Class of other people similarly situated. Plaintiff and the Plaintiff Class (collectively "Plaintiffs")

sue Defendants 3M Company; Aladdin Manufacturing Corporation; Apricot International, Inc.;

ArrowStar, LLC; Daltonian Flooring, Inc.; Dependable Rug Mills, Inc.; Dorsett Industries, Inc.;

Dystar, L.P., ECMH, LLC d/b/a Clayton Miller Hospitality Carpets; E.I. DuPont De Nemours and

Company; Emerald Carpets, Inc.; Engineered Floors, LLC; Fortune Contract, Inc.; Harcros

Chemical, Inc.; Indian Summer Carpet Mills, Inc.; Industrial Chemicals, Inc.; Lexmark Carpet

Mills Inc.; Lyle Industries, Inc.; MFG Chemical, Inc.; Milliken & Company; Mohawk Carpet

LLC; Mohawk Industries, Inc.; NPC South, Inc.; Oriental Weavers USA, Inc.; S& S Mills, Inc.;

Shaw Industries, Inc.; Shaw Industries Group, Inc.; Tandus Centiva Inc.; Tandus Centiva US LLC;

Tarkett, Inc.; Tarkett USA, Inc.; The Chemours Company; The Dixie Group, Inc.;. The Savannah

Mills Group, LLC; Victor Carpet Mills, Inc.; Q.E.P. Co., Inc.; and Fictitious Defendants A-J

("Defendants"), and allege as follows:

                                  STATEMENT OF THE CASE

       1.      This is a class action on behalf of individual Plaintiff and Class Representative

Jarrod Johnson and a class of people similarly situated who have been damaged and continue to




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       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 6 of 38
                                                                                   E-filed for Record
                                                                                  11/26/2019 3:19 PM
                                                                                   Floyd County, GA

be damaged due to the intentional, willful, wanton, reckless, and negligent release of toxic

chemicals, including but not limited to perfluorooctanoic acid ("PFOA"), perfluorooctane

sulfonate ("PFOS"), related chemicals that degrade to PFOA and/or PFOS (including, but not

limited to, C3-C15 perfluorinated compounds such as PFBA, PFBS, PFNA, PFHxS, PFHpA),

precursors to PFOA and PFOS, and related chemicals (collectively "PFCs") from Defendants'

manufacturing processes and facilities. By such wrongful acts and omissions Defendants have

created and maintained a continuing public nuisance causing harm and injury to the Plaintiff and

the Proposed Class Members.

       2.      Plaintiff and the Proposed Class Members receive their drinking water from the

City of Rome (sometimes referred to herein as "Rome" or the "City"), through the Rome Water

and Sewer Division, which owns and operates the Bruce Hamler Water Treatment Facility located

at 1 Blossom Hill Road in Rome, Georgia; and from the Floyd County Water Department, which

purchases water from the City of Rome, Georgia. The City of Rome uses a water intake on the

Oostanaula River as its primary water source and has a secondary water intake on the Etowah

River as an emergency source. Water drawn from these rivers undergoes treatment at the Bruce

Hamler Water Treatment Facility prior to distribution to the public.

       3.      Plaintiff and Members of the proposed Class are owners and occupants of property

served by water service provided by the Rome Water and Sewer Division and the Floyd County

Water Department who have been, and continue to be, provided with and subjected to

contaminated water as a result of the release of toxic chemicals by the Named and Fictitious

Defendants.

       4.      The Named and Fictitious Defendants own and/or operate manufacturing facilities

related to the carpet industry and have in the past and/or currently use PFCs as part of




                                                3
       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 7 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

manufacturing processes or otherwise supply PFCs to Defendants' manufacturing facilities. These

carpet manufacturing facilities are upstream of Rome's water intake, in or near the City of Dalton,

Georgia as well as in Rome, Georgia. Named and Fictitious Defendants use PFCs and related

chemical compounds at their manufacturing facilities to impart water, stain, and grease resistance

to their carpet and other textile products. Industrial wastewater discharged from Named and

Fictitious Defendants' manufacturing facilities contains high levels of Defendants' PFCs. These

PFC chemicals resist degradation during processing at wastewater treatment facilities and

ultimately contaminate the Conasauga River the Oostanaula River, the Coosa River and other

tributaries and watersheds in Floyd County, Georgia.

       5.      Named and Fictitious Defendants' PFCs have contaminated waterways in Floyd

County including but not limited to the water that supplies Rome's water intake site and the Bruce

Hamler Water Treatment Facility. The Defendants' PFCs cannot be removed adequately from

Rome's long-term water supply—the Oostanaula River—nor Floyd County waterways by the

existing and/or emergency water tteatment processes and technologies in use at the Bruce Hamler

Water Treatment Facility and wastewater treatment facilities.

       6.      As a result of the Defendants' intentional, willful, wanton, reckless, and negligent

acts and omissions and the nuisance thereby created, maintained, and continued, Plaintiff and

Proposed Class Members have suffered damages different in kind and degree from the damage

suffered by the public in general as a result of Defendants' discharges of toxic chemicals, including

compensatory and consequential damages. Plaintiff and Proposed Class Members are also seeking

equitable and injunctive relief to compel the Defendants to remediate and cease the spread of toxic

chemicals into and through their water supply. In addition, based on the Defendants' intentional,




                                                 4
          Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 8 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

willful, wanton, reckless, malicious, arid oppressive misconduct, Plaintiffs are seeking recovery of

punitive damages.

                                 JURISDICTION AND VENUE

          7.    Jurisdiction is proper in this Court pursuant to Article 6, § 4, ¶ 1 of the Georgia

Constitution.

          8.    Plaintiff asserts no federal claim or cause of action in this Complaint.

          9.    Venue is proper in Floyd County because the Plaintiffls and Proposed Class

Members' claims and causes of action originated in Floyd County where members of the Plaintiff

class were harmed and injured by the nuisance and tortious acts and omissions of the Defendants.

Each of the Defendants is deemed to reside and be subject to venue in Floyd County, Georgia

pursuant to O.C.G.A. § 14-2-510(b)(4). Additionally venue of this action lies against all

Defendants because they each are jointly and severally liable with at least one Defendant that

maintains an office and does business in Floyd County, and therefore is deemed to reside and be

subject to venue in Floyd County, Georgia pursuant to O.C.G.A. § 14-2-510(b)(3).
      ~
          10.   Venue is proper in this Court as to any Named and Fictitious Defendants that do

not have an office in Floyd County because the Named and Fictitious Defendants are joint

tortfeasors with those Defendant(s) that have a registered office in Floyd County, Georgia.

                                             PARTIES

          11.   Plaintiff Jarrod Johnson is a resident of Floyd County, Georgia and resides at 111

Snead Avenue; Rome, Georgia 30165. Plaintiff is a customer of the Rome Water and Sewer

Division and uses water from the Oostanaula River which is treated by the Bruce Hamler Water

Treatment Facility. Plaintiff s water supply has been and continues to be contaminated with PFCs

released from Defendants' manufacturing processes and waste disposal operations.




                                                  5
       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 9 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

       12.     Defendant 3M Company ("3M") is a foreign corporation authorized to transact

business in the State of Georgia and is causing a nuisance and injury in Floyd County, Georgia.

Defendant 3M Defendant Daltonian is committing, and/or has committed, tortious acts or

omissions within this state and county.

       13.     Defendant Aladdin Manufacturing Corporation ("Aladdin") a foreign corporation

authorized to transact business in the State of Georgia and is causing a nuisance and injury in Floyd

County, Georgia. Defendant Aladdin is committing, and/or has committed, tortious acts or

omissions within this state.and county.

       14.     Defendant Apricot International, Inc. ("Apricot") is a foreign corporation that was

authorized to transact business in the State of Georgia at the time the claims giving rise to this

cause of action arose and is causing, and/or has caused, a nuisance and injury in Floyd County,

Georgia. Defendant Apricot is committing, and/or has committed, tortious acts or omissions

within this state and county.

       15.     Defendant ArrowStar, LLC ("ArrowStar") is a domestic limited liability company

and is causing a nuisance and injury in Floyd County, Georgia. According to its website, ArrowStar

uses "fluorochemicals for all carpets" and a"C-6 based fluorine product." Defendant ArrowStar

is committing, and/or has committed, tortious acts or omissions within this state and county.

       16.     Defendant Daltonian Flooring, Inc. ("Daltonian") is a domestic corporation and is

causing a nuisance and injury in Floyd County, Georgia. Defendant Daltonian is committing,

and/or has committed, tortious acts or omissions within this state and county.

       17.     Defendant Dependable Rug Mills, Inc. ("Dependable Rug") is a domestic

corporation and is causing a nuisance and injury in Floyd County, Georgia. Defendant Dependable

Rug is committing, and/or has committed, tortious acts or omissions within this state and county.




                                                 G.~
      Case L.4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 10 of 38
                                                                                     E-filed for Record
                                                                                    11/26/2019 3:19 PM
                                                                                     Floyd County, GA

       18.     Defendant Dorsett Industries, Inc. ("Dorsett") is a domestic corporation and is

causing a nuisance and injury in Floyd County, Georgia. Defendant Dorsett Defendant Daltonian

is committing, and/or has committed, tortious acts or omissions within this state and county.

       19.     Defendant Dystar, L.P. ("Dystar") is a foreign limited partnership authorized to

transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant Dystar Defendant Daltonian is committing, and/or has committed, tortious

acts or omissions within this state and county.

       20.     Defendant E.I. du Pont de Nemours and Company ("Dupont") is a foreign

corporation authorized to transact business in the State of Georgia and is causing a nuisance and

injury in Floyd County, Georgia. Defendant DuPont Defendant Daltonian is committing, and/or

has committed, tortious acts or omissions within this state and county.

       21.     Defendant ECMH, LLC d/b/a Clayton Miller Hospitality Carpets f/k/a ECMH, Inc.

(ECMH") is a domestic limited liability company and is causing a nuisance and injury in.Floyd

County, Georgia. Defendant ECMH Defendant Daltonian is committing, and/or has committed,

tortious acts or omissions within this state and county. ,

       22.     Defendant Emerald Carpets, Inc. "Emerald") is a domestic corporation and is

causing a nuisance and injury in Floyd County, Georgia. Defendant Emerald Defendant Daltonian

is committing, and/or has committed, tortious acts or omissions within this state and county.

       23.     Defendant Engineered Floors, LLC ("Engineered Floors") is a domestic limited

liability company and is causing a nuisance and injury in Floyd County, Georgia. According to its

website, Engineered Floors, LLC uses stain protection, which contains PFCs upon information and

belief, on its carpets. Defendant Engineered Floors Defendant Daltonian is committing, and/or

has committed, tortious acts or omissions within this state and county.




                                                  7
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 11 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

          24.   Defendant Fortune Contract, Inc. ("Fortune") is a domestic corporation and is

causing a nuisance and injury in Floyd County, Georgia. Defendant Fortune Defendant Daltonian

is committing, and/or has committed, tortious acts or oniissions within this state and county.

          25.   Defendant Harcros Chemicals, Inc. ("Harcros") is a foreign corporation authorized

to transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant Harcros Defendant Daltonian is committing, and/or has committed, tortious

acts or omissions within this state and county.

          26.   Defendant Indian Summer Carpet Mills, Inc. ("Indian Summer") is a domestic

corporation and is causing a nuisance and injury in Floyd County, Georgia. Defendant Indian

Summer Defendant Daltonian is committing, and/or has committed, tortious acts or omissions

within this state and county.

          27.   Defendant Industrial Chemicals, Inc. ("Industrial Chemicals") is a foreign

corporation authorized to transact business in the State of Georgia and is causing a nuisance and

injury in Floyd County, Georgia. Defendant Industrial Chemicals Defendant Daltonian is

committing, and/or has committed, tortious acts or omissions within this state and county.

          28.   Defendant Lexmark Carpet Mills, Inc. ("Lexmark") is a domestic corporation and

is causing a nuisance and injury in Floyd, County, Georgia. Defendant Lexmark Defendant

Daltonian is committing, and/or has committed, tortious acts or omissions within this state and

county.

          29.   Defendant Lyle Industries, Inc. ("Lyle Industries") -is a domestic corporation and is

causing a nuisance and injury in Floyd County, Georgia. Defendant Lyle Industries Defendant

Daltonian is committing, and/or has committed, tortious acts or omissions within this state and

county.




                                                  8
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 12 of 38
                                                                                    E-filed for Record
                                                                                   11/26/2019 3:19 PM
                                                                                    Floyd County, GA

       30.     Defendant MFG Chemical, LLC, f/k/a MFG Chemical, Inc., ("MFG Chemical") is

a foreign limited liability company authorized to transact business in the State of Georgia, whose

predecessor was a domestic corporation, and is causing a nuisance and injury in Floyd County,

Georgia. Defendant MFG Chemical Defendant Daltonian is committing, and/or has committed,

tortious acts or omissions within this state and county.

       31.     Defendant Milliken & Company ("Milliken") is a foreign corporation authorized

to transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant Milliken Defendant Daltonian is committing, and/or has committed, tortious

acts or omissions within this state and county.

       32.     Defendant Mohawk Carpet, LLC ("Mohawk Carpet") is a foreign limited liability

company authorized to transact business in the State of Georgia and is causing a nuisance and

injury in Floyd County, Georgia. Defendant Mohawk Carpet Defendant Daltonian is committing,

and/or has committed, tortious acts or omissions within this state and county.

       33.     Defendant Mohawk Industries, Inc. is a foreign corporation authorized to transact

business in the State of Georgia. Mohawk Industries, Inc. has an office in Floyd County, Georgia

at 420 Lavender Drive, Rome, Georgia 30165; transacts business in Floyd County, Georgia; and

discharges its contaminated wastewater in Floyd County, Georgia. According to its own website,

Mohawk Industries, Inc. uses ScotchgardTM in its carpets, which upon information and belief

contains PFCs. Mohawk Industries, Inc. has committed tortious acts and omissions in Floyd

County, Georgia, and is causing a nuisance and tortious injury in Floyd County, Georgia. The

claims and causes of action asserted in this Complaint originated in whole, or in part, in Floyd

County, Georgia. Therefore, Mohawk Industries, Inc. is deemed to reside and be subject to venue

in Floyd County, Georgia pursuant to O.C.G.A. § 14-2-510(b)(3).




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      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 13 of 38
                                                                                     E-filed for Record
                                                                                    11/26/2019 3:19 PM
                                                                                     Floyd County, GA

       34.      Defendant NPC South, Inc. ("NPC South") is a foreign corporation authorized to

transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant NPC South Defendant Daltonian is committing, and/or has committed,

tortious acts or omissions within this state and county.

          35.   Defendant Oriental Weavers U.S.A., Inc. ("Oriental") is a domestic corporation and

is causing a nuisance and injury in Floyd County, Georgia. Defendant Oriental Defendant

Daltonian is committing, and/or has committed, tortious acts or omissions within this state and

county.

          36.   Defendant S&S Mills, Inc. ("S&S Mills") is a domestic corporation and is causing

a nuisance and injury in Floyd County, Georgia. According to its website, S&S Mills, Inc. uses

R2X6 Stain & Soil Resistance System, which, upon information and belief,. contains PFCs on its

carpets. Defendant S&S Mills Defendant Daltonian is committing, and/or has committed, tortious

acts or omissions within this state and county.

          37.   Defendant Shaw Industries, Inc. ("Shaw Industries") is a domestic corporation and

is causing a nuisance and injury in Floyd County, Georgia. Defendant Shaw Industries Defendant

Daltonian is committing, and/or has committed, tortious acts or omissions within this state and

county.

          38.   Defendant Shaw Industries Group, Inc. ("Shaw Group") is a domestic corporation

and is causing a nuisance and injury in Floyd County, Georgia. Defendant Shaw Group

WHEREFORE, Plaintiff and Proposed Class Members demand trial by jury, and (1) a judgment

and decree against all Named and Fictitious Defendants commanding them to abate the nuisance

they have caused, created, and (2) judgment against all Named and Fictitious Defendants, jointly

and severally, for past, present, and future compensatory damages in such amounts as the evidence




                                                  10
       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 14 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

shows them to be justly entitled to recover, including interest and reasonable attorneys' fees and

litigation expenses, and punitive damages in an amount sufficient in an amount sufficient to punish

and perialize them, and deter them from repeating their wrongful conduct, and all costs.

       39.     Defendant Tandus Centiva, Inc. ("Tandus") is a foreign corporation authorized to

transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant Tandus Defendant Daltonian is committing, and/or has committed, tortious

acts or omissions within this state and county.

       40.     Defendant Tandus Centiva US, LLC ("Tandus US") is a foreign limited liability

company authorized to transact business in the State of Georgia and is causing a nuisance and

injury in Floyd County, Georgia. Defendant Tandus US Defendant Daltonian is committing,

and/or has committed, tortious acts or omissions within this state and county.

       41.     Defendant Tarkett, Inc. ("Tarkett") is a foreign corporation authorized to transact

business in the State of Georgia and is causing a nuisance and injury in Floyd County, Georgia.

Defendant Tarkett Defendant Daltonian is committing, and/or has committed, tortious acts or

omissions within this state and county.

       42.     Defendant Tarkett USA, Inc. ("Tarkett USA") is a foreign corporation authorized

to transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,

Georgia. Defendant Tarkett USA is committing, and/or has committed, tortious acts or omissions

within this state and county

       43.     Defendant The Chemours Company ("Chemours") is a foreign corporation

authorized to transact business in the State of Georgia and is causing a nuisance and injury in Floyd

County, Georgia. Defendant Chemours Defendant Daltonian is committing, and/or has

committed, tortious acts or omissions within this state and county.




                                                  11
          Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 15 of 38
                                                                     E-filed for Record
                                                                   11/26/2019 3:19 PM
                                                                     Floyd County, GA

           44.    . Defendant The Dixie Group, Inc. ("Dixie") is a foreign corporation authorized to

    transact business in the State of Georgia and is causing a nuisance and injury in Floyd County,
-         ---      -   ---                -         --- -            -      - ----             -     -
    Georgia. Defendant Dixie Defendant Daltonian is committing - , and/or has committed, tortious acts

    or omissions within this state and county.

           45.     Defendant The Savannah Mills Group, LLC ("Savannah") is a domestic limited

    liability company and is causing a nuisance and injury in Floyd County, Georgia. Defendant

    Savannah Defendant Daltonian is committing, and/or has committed, tortious acts or omissions

    within this state and county.

           46.     Defendant Victor Carpet Mills, Inc., ("Victor") is a domestic corporation and is

    causing a nuisance and injury in Floyd County, Georgia. Defendant Victor Defendant Daltonian

    is committing, and/or has committed, tortious acts or omissions within this state and county.

           47.     Defendant Q.E.P. Co., Inc. ("Q.E.P.") is a foreign corporation doing business in the

    State of Georgia and is causing a nuisance and injury in Floyd County, Georgia. Defendant Q.E.P.

    Defendant Daltonian is committing, and/or has committed, tortious acts or omissions within this

    state and county.

           48.     Fictitious Defendants A, B, C, D, E, F, G, H,1, & J are those persons, corporations,

    partnerships, or entities who manufactured, utilized as part of their manufacturing processes and/or

    discharged PFCs and their precursor compounds, including, but not limited to PFOA, PFOS and

    related chemicals into the water supply upstream of Rome's water intake site, who acted either as

    principal or agent, for or in concert with the named Defendants, and/or whose tortious acts or

    omissions caused or contributed to the damages sustained by Plaintiff and the Plaintiff Class in

    this state and county, whose identities are unknown to Rome, but which will be substituted by

    amendment when ascertained.




                                                    12
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 16 of 38
                                                                                     E-filed for Record
                                                                                    11/26/2019 3:19 PM
                                                                                     Floyd County, GA

                                 FACTUAL ALLEGATIONS

       49.     Over 90% of the world's carpet comes from manufacturing plants in and around

Dalton, Georgia the "Carpet Capital of the World." These carpet manufacturing plants use and

have used PFCs and other related chemicals in the carpeting manufacturing process.

       50.     Defendants are not only the owners and operators of the carpet manufacturing

plants, but also their chemical suppliers. Defendants discharge PFCs, including, but not limited to

PFOA, PFOS, their precursors and related chemicals in their industrial wastewater. Dalton

Utilities, Loopers Bend Wastewater Treatment Plant, and other treatment plants then treat the

wastewater before it is pumped to a 9,800-acre Land Application System ("LAS"). PFCs have

been detected in dangerously high levels in the soil, wastewater effluent, groundwater, sewage,

was sludge, biosolids, and compost at the Loopers Bend Wastewater Treatment Plant, which

borders and connects to the Conasauga River.

       51.     Defendants' . PFCs resist degradation during the treatment process and increase in

concentration as waste accumulates in the LAS. Runoff contaminated with PFCs pollutes the

Conasauga River as it flows past the LAS. Defendants have known for decades that their PFCs

cannot be removed from the discharges sent to Dalton Utilities or other treatment facilities that

discharge wastewater in Floyd County.

       52.     The United States Environmental Protection Agency ("EPA"), the University of

Georgia ("UGA"), and the Georgia Environmental Protection Division ("EPD") have identified

industrial wastewater from Defendants' manufacturing facilities as the source of PFCs entering

the Conasauga River, the Oostanaula River, the Coosa River and, ultimately, into the City of Rome,

Georgia's water supply.

       53.     The stable carbon-fluorine bonds that make PFCs such pervasive industrial and

consumer products also result in their persistence in the environment. There is no known


                                                13
                                                        ~
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 17 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

environmental breakdown mechanism for these chemicals. They are readily absorbed into biota

and tend to bioaccumulate with repeated exposure. PFOS crosses the placenta in humans,

accumulates in amniotic fluid, and has been detected in the umbilical cord blood of babies.

       54.     When humans ingest PFCs, they bind to plasma proteins in the blood and are readily

absorbed by and distributed throughout the body. The liver and kidneys are important binding and

processing sites for PFCs, resulting in physiologic changes to these and other organs. Because of

strong carbon-fluorine bonds, PFCs are stable to metabolic degradation, resistant to

biotransformation, and have long half-lives in the body. These toxic chemicals accumulate in the

body and cause long-term physiologic alterations and damage to the blood, liver, kidneys, immune

system, and other organs.

       55.     The human diseases caused by exposure to PFCs include cancer, immunotoxicity,

thyroid disease, ulcerative colitis, and high cholesterol. The association between exposure to these

chemicals and certain cancers has been confirmed by the C8 Health Project, an independent

Science Panel, charged with reviewing the evidence linking certain PFCs to diseases based on its

research on the Mid-Ohio Valley population exposed to certain PFCs as a result of releases from

an E.1. du Pont de Nemours and Company chemical plant. The C8 Science Panel identified kidney

cancer and testicular cancer as having a"probable link" to PFOA exposure in the Mid-Ohio Valley

population. Epidemiological studies of workers exposed to PFOA on the job support the

association between PFOA exposure and both kidney and testicular cancer, and they further

suggest associations with prostate and ovarian cancer and non-Hodgkin's lymphoma. Rodent

studies also support the link with cancer. Most of an EPA Science Advisory Board expert

committee recommended in 2006 that PFOA be considered "likely to be carcinogenic to humans."




                                                14
                Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 18 of 38
                                                                                               E-filed for Record
                                                                                              11/26/2019 3:19 PM
                                                                                               Floyd County, GA

          The C8 Science Panel has also found probable links between exposure to certain PFCs and

          pregnancy-induced hypertension, ulcerative colitis, and high cholesterol.
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                 56.     PFCs' immunotoxicity has been demonstrated in a wide variety of species and

          models, including humans, in recent years. For instance, a study of ninety-nine Norwegian children

          at age three found that maternal serum PFOA concentrations were associated with decreased

          vaccine responses, especially toward rubella vaccine, and increased frequencies of common cold

          and gastroenteritis. The combined human and experimental evidence strongly shows the adverse

          effects on immune functions at relatively low exposure levels.

                 57.     Based on the science available in 2009, the EPA published provisional drinking

          water health advisories for short-term exposure (weeks to months) to PFOA and PFOS. The

          advisory for PFOA was 0.4 micrograms per liter ("µg/L") or 0.4 parts per billion ("ppb"), and for

          PFOS was 0.2 µg/L or 0.2 ppb.

                 58.     The State of New Jersey adopted a drinking water health advisory in 2006 for

          PFOA that is 0.04 ppb, which is 10 times lower than the 2009 EPA provisional drinking water

          health advisory for PFOA. Based on review of recent scientific studies, New Jersey proposed

          lowering this number even further to 0.02 ppb in 2014. Cunrently, New York, California, New

          Jersey, Massachusetts, Vermont, New Hampshire and Minnesota have all recommended and/or

          enacted PFC health advisories lower than EPA advisories.

                 59.     On May 19, 2016, due to the evolution of the science surrounding the health effects

          associated with the consumption of PFOA and PFOS in drinking water, EPA published lifetime

          Drinking Water Health Advisories for PFOA and PFOS ("May 2016 EPA Health Advisories" or

          "Health Advisories"). The Health Advisory for PFOA is 0.07 micrograms per liter ("µg/L"), or

          0.07 parts per billion ("ppb"). The Health Advisory for PFOS is also 0.07 µg/L, or 0.07 ppb. The




                                                         15
               Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 19 of 38
                                                                          E-filed for Record
                                                                        11/26/2019 3:19 PM
                                                                          Floyd County, GA

         May 2016 EPA Health Advisories are intended to replace and supersede EPA's 2009 provisional

         advisories.
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                60.     The May 2016 EPA Health Advisories are based on peer-reviewed studies of the

         effects of PFOA and PFOS on laboratory animals and epidemiological studies of human

         populations exposed to PFOA and PFOS. These studies indicate that exposure to PFOA and PFOS

         over certain levels may result in adverse health effects, including developmental defects to fetuses,

         cancer (testicular, kidney), liver effects, immune effects, thyroid effects, and other adverse effects.

                61.     The May 2016 EPA Health Advisories state that PFOA and PFOS have "extremely

         high" persistence in the environment and the human body, and that the developing fetus and

         newborn are "particularly sensitive" to PFOA and PFOS induced toxicity. According to the Health

         Advisories, a single exposure to a developmental toxin at a critical time can produce a persistent

         adverse effect that increases with additional exposure.

                 62.    Defendants have long been aware of the persistence and toxicity of PFOA, PFOS,

         and related chemicals. Defendants nonetheless knowingly and intentionally discharged and

         continue to discharge these chemicals into the rivers and watersheds that supply drinking water to

         the City of Rome and its water subscribers.

                 63.    Defendants that manufacture PFCs have known for at least 40 years that PFOA,

         PFOS, and related chemicals persist in the environment and accumulate in the bodies of humans,

         fish, and test animals. For instance, blood tests of 3M workers conducted in 1978 found elevated

         organic fluorine levels "proportional to the length of time that had been spent by employees in the

         production areas." The same study found that "laboratory workers, with former exposure, but none

         for 15-20 years, had elevated [organic fluorine levels] above literature normals." A 1979 3M study




                                                           16
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 20 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

of fish caught by the Wheeler Dam (26 miles downstream from the 3M plant) showed that the

chemicals bioaccumulate in fish.

          64.   Defendant 3M has also known for at least 40 years that PFOA, PFOS, and related

chemicals are toxic. For instance, a 1978 3M study of the effects of fluorochemical compounds on

Rhesus monkeys was terminated affter 20 days because all the monkeys died as a result of exposure

to the fluorochemicals. Twenty-one years later, 3M told the public that a"new study" on these

compounds' effect on Rhesus monkeys was one reason 3M pulled one of its consumer products,

Scotchgard, off the market.

          65.   In 1983, a team of 3M toxicologists recommended broad testing regarding the

effects of 3M's fluorochemicals on the environment and human beings.
                                 ~
          66.   Defendant 3M has known for at least 30 years that its disposal of PFOA and PFOS

and related chemicals through discharge into waterways, such as the Conasauga River or

Oostanaula River was unsafe. For instance, a Materials Safety Data Sheet ("MSDS") produced by

Defendant 3M in 1986 warned that PFOA should be disposed of only through incineration or at

specially designed, properly lined landfills for hazardous chemicals, not discharged into rivers and

not dumped into the ground.

          67.   Defendant 3M has known for at least 18 years that PFOA, PFOS and related

chemicals are not effectively treated by conventional wastewater treatment plant processes and are

discharged to surface waters in the effluent and accumulate in the sludge from wastewater

treatment processes. For example, in 2001, 3M found high concentrations of these chemicals in

samples from the Decatur Utilities WWTP in Decatur, Alabama effluent and sludge as a result of

discharges from 3M. These high concentrations were not disclosed to Decatur Utilities or the

public.




                                                17
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 21 of 38
                                                                                        E-filed for Record
                                                                                       11/26/2019 3:19 PM
                                                                                        Floyd County, GA

        68.     A 1997 MSDS for a product made by 3M listed its only ingredients as water, PFOA,

and other per-fluoroalkyl substances and warned that the product includes "a chemical which can

cause cancer." T'he MSDS cited "1983 and 1993 studies conducted jointly by 31V1 and DuPont" as

support for this statement.

        69.     In 1978, DuPont began to review and monitor the health conditions of its workers

who were potentially being exposed to PFOA. DuPont subsequently found that PFOA is "toxic"

and that "continued exposure is not tolerable," but did not disclose this to the public or to the EPA.

Three years later, DuPont again failed to disclose data demonstrating the transplacental movement

of PFOA to fetuses. It also failed to disclose widespread PFOA contamination in public drinking

water sources resulting from discharges at its Washington Works facility in Washington, West

Virginia, where PFOA concentrations exceeded DuPont's own Community Exposure Guideline.

        70.     In 1991, DuPont researchers recommended following up a study from ten years

earlier of employees who might have been exposed to PFOA. The prior study showed elevated

liver enzymes in the blood of DuPont workers. On information and belief, for the purpose of

avoiding or limiting liability, DuPont chose not to conduct the follow-up study, instead postponing

it until after it was sued.

        71.     In or around December 2005, DuPont agreed to pay a$10.25 million fine to the

federal government arising from its failures to disclose information to EPA about PFOA's health

risks. Upon information and belief, in statements to the public and government regulators, DuPont

has repeatedly and falsely claimed that human exposure to PFOA has no adverse health

consequences. In a May/June 2008 publication, for example, DuPont stated that "the weight of the

evidence indicates that PFOA exposure does not pose a health risk to the general public," and

"there are no human health effects known to be caused by PFOA, although study of the chemical




                                                 18
         Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 22 of 38
                                                                                   E-filed for Record
                                                                                  11/26/2019 3:19 PM
                                                                                   Floyd County, GA

continues." DuPont made those statements against the advice of its own Epidemiology Review

Board, which urged it not to make public statements asserting that PFOA does not pose any health

risks.

         72.   For decades, 3M manufactured PFOA and supplied it to DuPont for its manufacture

of Teflon and other products. Despite DuPont's knowledge of the risks to human health posed by

PFOA, in response to the withdrawal of 3M from the market in May of 2000, DuPont opened its

own plant to manufacture PFOA to be incorporated into DuPont's products.

         73.   In 2015, Dupont spun off its performance chemicals business (which included the

design, manufacture, marketing, and sale of PFCs, as well as the environmental liabilities) to

Chemours.

         74.   Upon information and belief, all Defendants have long been aware of the

persistence and toxicity of PFCs, at least as a result of communications with Defendant

manufacturers and users of these chemicals, as well as the EPA, UGA and/or EPD.

         75.   Upon information and belief, all Defendants knew or should have known that, in

its intended and/or common use, PFCs would very likely cause harm and injury, and/or threaten

public health and the environment.

         76.   Upon information and belief, all Defendants knew or should have known that PFCs

are mobile and persistent, bioaccumulative, biomagnifying and toxic. Defendants nonetheless

concealed their knowledge from the public and government agencies.

         77.   In 2002, EPA took regulatory action under the Toxic Substances Control Act to

limit the future manufacture of PFOA, PFOS, and related chemicals. In response, Defendants

undertook to develop and manufacture and supply to other Defendants "Short-Chain" PFCs; that

is, PFCs with six or fewer carbons, such as GenX. Defendants are aware that these Short-Chain




                                              19
        Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 23 of 38
                                                                                     E-filed for Record
                                                                                    11 /26/2019 3:19 PM
                                                                                     Floyd County, GA

 PFCs are also not subject to biodegradation and that they accumulate in human blood, like PFOA

 and PFOS. Likewise, Defendants are aware that Short-Chain PFCS are also known to cause cancer

- in animal studies:

         78.     By at least the 1990s, additional research and testing performed by Defendants

 manufacturing and/or.-using PFAS materials, including at least 3M and DuPont, indicated that at

 least one such PFAS material, PFOA, had caused several tumor types (Leydig/testicular, liver and

 pancreatic) in a chronic cancer study in rats. By the mid-2010s, Defendants 3M and

 Dupont/Chemours were aware that at least one Short-Chain PFC had been found to cause the same

 group of tumors in a chronic rat cancer study as had been found in a similar study with. a non-

 Short-Chain PFC.

         79.     Rome began regular testing for PFOA and PFOS in its water supply, leading up to

 the issuance of the May 2016 EPA Health Advisories, and has consistently fourid PFOA and PFOS

 levels that combine to meet or exceed the 0.07 ppb limit. In addition to PFOA and PFOS, Rome

 has also found Short-Chain PFCs in the water supply.

         80.     In 2016, Rome's then-current water treatment filtration system was not capable of

 rernoving or reducing levels of PFCs including, but not limited to, PFOA and PFOS. Upon being

 informed that the May 2016 EPA Health Advisories would set lifetime safe PFOA and PFOS

 levels drastically lower than the 2009 provisional drinking water health advisories for short-term

 exposure, Rome took emergency precautions and implemented an emergency temporary filtration

 process by installing granular activated carbon in existing filter beds to remove non-Short-Chain

 PFCs. Rome also drew additional water from the Etowah River for purposes of blending that water

 with water drawn from the primary source, the Oostanaula River.




                                                20
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 24 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

       81.     Due to the high levels of PFOA and PFOS found in its water supply, and due to the

presence of Short-Chain PFCs, the City's water supply requires a new and permanent filtration

system. Such a system is necessary to piovide a safe, long-term supply of water which will meet

the EPA health advisories and provide safe water for the public.

       82.     These emergency efforts have cost, and will continue to cost, Rome millions of

dollars to implement, and the City was forced to implement a surcharge upon all customer rate

payers to recoup its costs. Additionally, implementation of the new, permanent filtration system

will increase the future costs the City must incur to provide a safe, long-term supply ofwater which

will meet the EPA health advisories and provide safe water for the public. Such increased costs

will be passed on to all customer rate payers to recoup them through additional and increased

surcharges. The City estimates that water subscribers/ratepayers will likely see a minimum 2.5%

rate increase each year for the foreseeable future.

       83.     As a direct and proximate result of Defendants' contamination of the Rome and

Floyd County water supply, Plaintiff and the Proposed Class Members have been damaged,

including, but not limited to, losses for the payment of surcharges to filter Long-Chain PFCs from

the Rome and Floyd County water supply, and other compensatory damages to be proven at trial.

                                    CLASS ALLEGATIOIVS

       84.     Plaintiffs incorporate by reference paragraphs 1 through 83 as if restated herein.

       85.     This action on behalf of Plaintiff and all others similarly situated has been brought

and may be properly maintained pursuant to the provisions of O.C.G.A. § 9-11-23.

       86.     Plaintiff and the Proposed Class Members are water subscribers and ratepayers with

the Rome Water and Sewer Division and/or the Floyd County Water Department who have been

in the past, and will be in the future,. harmed, injured, and damaged through contamination of their

drinking water and the payment of surcharges to recoup the costs of removing the contamination.


                                                 21
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 25 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

       87.     The Class proposed by Plaintiff and those he represents is as follows:

       All water subscribers (ratepayers) with the Rome Water and Sewer Division
       and/or the Floyd County Water Department.

       88.     Excluded from the Proposed Class are:

               a.     Employees of Defendants and any entities in which Defendants have a
                      controlling interest;

               b.     Any of the legal representatives, heirs, successors, or assigns of Defendants;

               C.     The Judge to whom this case is assigned and any Member of the Judge's
                      immediate family and any other judicial officer assigned to this case;

               d.     All persons or entities that properly execute and timely file a request for
                      exclusion from the Proposed Class; and

               e.     Any attorneys representing the Plaintiff or Proposed Class Members.

       89.     Plaintiff reserves the right to modify or amend the definition of the Proposed Class

before the Court determines whether certification is appropriate.

       90.     Numerosity. The Proposed Class Members are so numerous that separate joinder

of each Member is impractical, within the meaning of O.C.G.A. § 9-11-23(a)(1). Although the

exact number of Proposed Class Members will be established after Class notification, upon

information and belief, the number of Proposed Class Members probably exceeds 25,000 people.

Putative Class Members are readily identifiable through records of the Water Utilities and through

property records and may be given any required notices by regular mail, supplemented, if

necessary and required by the Court, by published notice.

       91.     Common Questions of Law and Fact. There are numerous questions of law and

fact common to the Class, as required by O.C.G.A. § 9-11-23(a)(2), including:

       (a)     The factual history of the use, development, and distribution of PFCs and related
               chemicals manufactured and used by the Defendants at their Rome, Georgia and
               Floyd County facilities;

       (b)     When the Defendants knew of the harmful effects of PFCs and related chemicals;



                                               22
       Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 26 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

       (c)     Whether the Defendants failed to disclose the harmful effects of PFCs and related
               chemicals being released from their plants in Rome, Georgia and Floyd County;

       (d)     The extent of the contamination at the Defendants' plant sites in Rome, Georgia
               and Floyd County, and the migration of that contamination into the Oostanaula
               River;

       (e)     Whether the water supplied to Plaintiff and the Proposed Class Members has been
               and continues to be contaminated with PFCs and related chemicals;

       (f)     Whether Plaintiff and the Proposed Class Members paid more for their
               contaminated water than they should have;

       (g)     Whether the Defendants' conduct was intentional, willful, wanton, reckless, and
               negligent, and constitutes a nuisance;

       (h)     Whether the Plaintiff and the Proposed Class Members should be awarded their
               reasonable attorney's fees and expenses of litigation;

       (i)     Whether punitive damages should be imposed on the Defendants in an amount
               sufficient to punish, penalize, or deter their intentional, willful, wanton, and
               reckless, malicious, and oppressive acts and omissions that have created and
               maintained a continuing public nuisance.

       (j)     The necessary remedial actions to abate the claimed nuisance and clean
               Defendants' chemicals from the Plaintiffls and the Proposed Class Members' water
               supplies and property;

       (k)     Whether and to what extent injunctive relief is appropriate to require Defendants to
               abate the claimed nuisance and prevent Defendants' chemicals from invading the
               Plaintiffls and the Proposed Class Members' water supplies and properties.

       92.     The questions of law and fact common to Proposed Class Members predominate

over any questions affecting only individual Members, and thus a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.

       93.     Typicality. PlaintifPs claims are typical of the claims to be advanced by Proposed

Class Members, and his claims encompass those of the other Proposed Class Members he seeks to

represent, as required by O.C.G.A. § 23(a)(3). The claims are typical because the facts and

circumstances giving rise to liability are the same, the claims are based on the same legal theories,




                                                 23
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 27 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

and the damages suffered by Plaintiff are the same kinds of damages suffered by the Proposed

Class Members.

        94.     Adequacy. Plaintiff can faitly and adequately protect and represent the interests of

each Proposed Class Member as required by O.C.G.A. § 9-11-23(a)(4). Plaintiff will fairly and

adequately protect and represent the interests of the Proposed Class Members based on the

following facts and circumstances: their interests do not conflict; their interests are co-extensive

with common rights of recovery based on the same essential facts and legal theories; they are

Members of the same communities; they are similarly damaged and are seeking the same remedies;

and they intend to prosecute this action vigorously. Plaintiff has retained counsel competent and

experienced in complex class action and toxic tort litigation.

        95.     The prosecution of separate actions by individual Proposed Class Members would

create a risk of (a) inconsistent or varying adjudications with respect to individual Proposed Class

Members, which would establish incompatible standards of conduct for the Defendants and/or (b)

adjudications with respect to individual Proposed Class Members which would as a practical

matter be dispositive of the Members not parties to the adjudications or substantially impair or

impede their ability to protect their interests.

        96.     The Defendants have acted on grounds generally applicable to all Members of the

proposed Class, making final declaratory and injunctive relief concerning the Class as a whole

appropriate within the meaning of O.C.G.A. § 9-11-23(b)(2).

        97.     Common questions of fact and law among the Representative Plaintiffs and

Proposed Class Members predominate over questions affecting only individual Class Members,

within the meaning of O.C.G.A. ¶ 9-11-23(b)(3). Some of the common issues are set forth in

Paragraph 91 above.




                                                   24
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 28 of 38
                                                                                        E-filed for Record
                                                                                       11/26/2019 3:19 PM
                                                                                        Floyd County, GA

       98.     Additionally, Class action treatment is a superior method to other available methods

for the fair and efficient adjudication of the controversy. Certification under O.C.G.A. § 9-11-

23(b)(3) would be proper in that, among other things: there is no interest by Proposed Class

Members in individually controlling the prosecution of separate actions; the expense of

prosecuting individual claims for the matters for which Class certification is sought would be

prohibitive in light of the typical claimant's injuries; neither Plaintiff nor Members of the proposed

Class have filed or are parties to any litigation in which the legal and factual issues raised herein

are to be adjudicated; and it is desirable to concentrate the litigation of claims in a single

proceeding so as to avoid unnecessary and expensive duplication of actions and to provide for

judicial economy. Whatever difficulties may exist in the management of a Class action will be

greatly outweighed by its benefits.

       99.     Class action treatment is preferable to other available methods in providing a fair

and efficient method for the adjudication of the controversy described herein, which has affected

a large number of persons. The Class action provides an effective method whereby the enforcement

of the rights of the Plaintiffs can be fairly managed without unnecessary expense or duplication.

                      COUNT ONE — TORT CLAIMS FOR DAMAGES
                              (ALL CLASS MEMBERS)

       100.    Plaintiff and Proposed Class Members incorporate by reference paragraphs 1

through 99 as if restated herein.

       101.    Named and Fictitious Defendants owed a duty to Plaintiff and Proposed Class

Members to exercise due and reasonable care in their chemical manufacturing and chemical supply

operations as well as their carpet manufacturing operations to prevent the discharge of toxic PFC
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chemicals into the Rome and Floyd County water supply.




                                                 25
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 29 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

       102.    Named and Fictitious Defendants breached the duty owed to Plaintiff and Proposed

Class Members, and under the circumstances, Defendants' breaches intentional, willful, wanton,

reckless, and negligent misconduct.

       103.    As a direct, proximate, and foreseeable result of Defendants' intentional, willful,

wanton, reckless, and negligent misconduct, practices, actions, and inactions, Plaintiff and

Proposed Class Members who are owners and occupants of residential real property and water

subscribers/ratepayers with the Rome Water and Sewer Division and/or the Floyd County Water

Department have been caused to suffer, and will continue to suffer, losses for the surcharges

incurred as ratepayers for the costs of partially filtering Long-Chain PFCs from their drinking

water and other damages to be proved trial.

       104.    Named and Fictitious Defendants have acted in bad faith, have been stubbornly

litigious, and have caused the Plaintiff and Proposed Class Members unnecessary trouble and

expense. Plaintiff and Proposed Class Members are entitled to recover reasonable and necessary

attorneys' fees and expenses of litigation as a part of their damages. O.C.G.A. § 13-6-11.

       105.    Named and Fictitious Defendants' actions showed willful misconduct, malice,

wantonness, oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences. Named and Fictitious Defendants acted, or failed to act,

with the specific intent to cause harm, did cause harm and injury to the Plaintiff and Proposed

Class Members, and continue to cause harm and injury to them. Punitive damages should be

imposed on Named and Fictitious Defendants in an amount sufficient to punish and penalize them,

and deter them from repeating such wrongful conduct.

       WHEREFORE, Plaintiff and the Proposed Class Members demand trial by jury and

judgment against all Named and Fictitious Defendants, jointly and severally, for past, present, and




                                                KO
          Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 30 of 38
                                                                                        E-filed for Record
                                                                                       11/26/2019 3:19 PM
                                                                                        Floyd County, GA

    future compensatory damages in such amounts as the evidence shows them to be justly entitled to

    recover, including interest and reasonable attorneys' fees and litigation expenses, and punitive

    damages in an amount sufficient in an amount sufficient to punish and penalize them, and deter

    them from repeating their wrongful conduct, and all costs.

                                 COUNT TWO — PUBLIC NUISANCE
                                    CLAIMS FOR DAMAGES
                                    (ALL CLASS MEMBERS)

              106.   Plaintiff and Proposed Class Members incorporate by reference paragraphs 1-105

    as if restated herein:

              107.   Plaintiff and Proposed Class Members own and occupy residential properties

    supplied with drinking water by the Rome Water and Sewer Division and/or the Floyd County

    Water Department and are forced to pay surcharges that allow the City to filter long chain PFCs

    from the water supply.

              108.   Named and Fictitious Defendants have created a continuous, public nuisance by

    their discharge of PFCs including, but not limited to PFOA, PFOS, and related chemicals into the

    Oostanaula River and related tributaries and watersheds, which has caused, and continues to cause,

    contamination of Plaintiffls and Proposed Class Members' water supply, thereby proximately

    causing Plaintiff and Proposed Class Members past, present, and future harm, injury,

    inconvenience., and increased water rates and surcharges.

,             109. The contamination caused by the Named and Fictitious Defendants has

    unreasonably interfered, and continues to interfere, with a right common to the general public—

    i.e., safe drinking water—and has unreasonably interfered, and continues to interfere, with public

    health.

              110. All who come into contact with the PFCs released and discharged by Defendants

    are hurt, inconvenienced, or damaged by, among other things, being exposed to the harmful effects


                                                   27
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 31 of 38
                                                                                       E-filed for Record
                                                                                      11 /26/2019 3:19 PM
                                                                                       Floyd County, GA

of PFCs. The harm caused by Defendants' conduct is not fanciful, or such as would affect only

one of fastidious taste; rather, Defendants' conduct is such that it affects ordinary, reasonable

persons. See O:C.G.A. § 41-1-1.

       111.    The levels of toxic chemical contamination found in the Rome Water and Sewer

Division and/or the Floyd County Water Department water supply, directly caused by the

Defendants' pollution, has created a condition that has threatened, and continues to threaten, the

health and well-being of the Plaintiff, and Proposed Class Members, and everyone who consumes

drinking water supplied by the Rome Water and Sewer Division and/or the Floyd County Water

Deparhnent. This ingestion of PFCs causes concern, inconvenience, and harm to the Plaintiff,

Proposed Class Members, and everyone who consumes drinking water supplied by the Rome

Water and Sewer Division and/or the Floyd County Water Department —as it would to any other

person. It was reasonably foreseeable, and in fact known to the Defendants, that their actions would

cause interference with the property rights of Plaintiff and Proposed Class Members and would

place, have placed, and continue to place, them at increased risk of physical harm.

       112.    Plaintiff and Proposed Class Members have suffered, and will continue to suffer,

special damages from Defendants' discharge of PFCs into the Oostanaula River, because unlike

all who consume contaminated water supplied by the Rome Water and Sewer Division and/or the

Floyd County Water Department, Plaintiff and Proposed Class Members must also pay the added

costs of attempting to remove the contamination by way of increased rates and surcharges they

incur as ratepayers.

       113.    The nuisance created by Defendants' wrongful conduct is continuing, because

Defendants' discharges and releases of PFCs and pelated chemicals into the Oostanaula River are

continuing. In addition, the past discharges of PFCs and related chemicals have caused




                                                28
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 32 of 38
                                                                                      E-filed for Record
                                                                                     11/26/2019 3:19 PM
                                                                                      Floyd County, GA

contamination of sediments in the river, which provide a continuing source of contamination of

the water.

       114.    As -a result of the publid nuisance -caused by Defendants, Plaintiff and Proposed

Class Members, who are owners and occupants of residential real property and ratepayers with the

Rome Water and Sewer Division and/or the Floyd County Water Department, have been caused

to suffer, and will continue to suffer, losses for the increased rates and surcharges incurred as

ratepayers for the costs of partially filtering Long-Chain PFCs from their drinking water, and other

damages to be proved at trial.

       115.    As a result of the public nuisance caused by Defendants, Plaintiff and Proposed

Class Members have been caused to suffer, and will continue to suffer, economic damage caused

by Defendants' actions/inactions, including their role in the toxic PFC pollution of the public

drinking water.

       WHEREFORE, Plaintiff and the Proposed Class Members demand trial by jury and

judgment against all Named and Fictitious Defendants, jointly and severally, for past, present, and

future compensatory damages in such amounts as the evidence shows them to be justly entitled to

recover, including interest and reasonable attorneys' fees and litigation expenses, and punitive

damages in an amount sufficient in an amount sufficient to punish and penalize them, and deter

them from repeating their wrongful conduct, and all costs.

                      COUNT THREE — CLAIMS FOR ABATEMENT
                       AND INJUNCTION OF PUBLIC NUISANCE
                              (ALL CLASS MEMBERS)

       116.    Plaintiff and Proposed Class Members incorporate paragraphs 1 through 115 as if

restated herein.

       117.    Pursuant to O.C.G.A. §§ 41-2-1 and 41-2-2, Plaintiff and Proposed Class Members

have the right to bring an action to abate the nuisance caused by Defendants' manufacture, supply,


                                                29
      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 33 of 38
                                                                                       E-filed for Record
                                                                                      11/26/2019 3:19 PM
                                                                                       Floyd County, GA

and discharge of PFOA, PFOS, and related chemicals, which has caused and continues to cause

contamination of their water supply.

       118.       In addition to their claims for damages, Plaintiff and Proposed Class Members are

entitled to an injunction to abate the nuisance created and maintained by Defendants.

       119.       Plaintiff and Proposed Class Members request this Court to issue an order and

decree requiring Named and Fictitious Defendants to remove their chemicals and toxins from the

water supplies of Plaintiff and Proposed Class Members and/or fund the measures necessary to

prevent these chemicals and toxins from continuing to contaminate Plaintiffls and Proposed Class

Members' water supply, based on the continuing irreparable injury to them posed by the continuing

nuisance, for which there is no adequate remedy at law.

       120.       Plaintiff and Proposed Class Members further request that this Court enter an order

and decree permanently enjoining Named and Fictitious Defendants from continuing the conduct

described herein, and requiring Named and Fictitious Defendants to take all steps necessary to

remove their chemicals' from PlaintifPs and Proposed Class Members' water supplies and

properties.

       121.       There is continuing irreparable injury to Plaintiff and Proposed Class Members—

and, indeed, all consumers of drinking water supplied by the Rome Water and Sewer Division

and/or the Floyd County Water Department—if an injunction does not issue, as Named and

Fictitious Defendants' chemicals Rome's water supplies pose a continuing threat, and there is no

adequate remedy at law.

       WHEREFORE, Plaintiff and Proposed Class Members demand trial by jury, and

       (a) a judgment and decree against all Named and Fictitious Defendants enjoining them

from maintaining the nuisance they have cased, created, and maintained;
              /




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      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 34 of 38
                                                                                        E-filed for Record
                                                                                       11/26/2019 3:19 PM
                                                                                        Floyd County, GA

       (b) a judgment and decree against all Named and Fictitious Defendants, jointly and

severally, requiring them to the nuisance they have cased, created, and maintained;

       -(c) a judgment and decree against all Named and Fictitious Defendants, jointly and

severally, requiring them to remove their PFC chemicals and toxins described herein from the

Rome Water and Sewer Division's and the Floyd County Water Department's water system;

       (d) a judgment and decree against all Named and Fictitious Defendants, jointly and

severally, requiring them to cease releasing any kind of PFC chemicals and toxins described herein

into rivers, streams, and tributaries where they contaminate the Rome Water and Sewer Division's

and the Floyd County Water Deparhnent's water system and Plaintiff and Proposed Class

Members' water supply;

       (e) a judgment and decree against all Named and Fictitious Defendants, jointly and

severally, requiring them to prevent any kind of PFC chemicals and toxins described herein from

being released into rivers, streams, and tributaries where they contaminate the Rome Water and

Sewer Division's and the Floyd County Water Department's water system and Plaintiff and

Proposed Class Members' water supply; and

       (f) a judgment against all Named and Fictitious Defendants, jointly and severally, for past,

present, and future compensatory damages in such amounts as the evidence shows them to be

justly entitled to recover, including interest and reasonable attorneys' fees and litigation expenses,

and punitive damages in an amount sufficient in an amount sufficient to punish and penalize them,

and deter them from repeating their wrongful conduct, and all costs.

                                              Attorneys fop Plaintiffs:

                                               THE STONE LAw GROUP —
                                               TRIAL LAwYERs, LLC
                                               By: N ~~lQ& P, 54w
                                               Ryals D. Stone
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      Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 35 of 38
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                                         Georgia State Bar No. 831761
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                                         William S. Stone
                                         Georgia State Bar No. 684636
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B. Thompson email: bthompson@corywatson.com

                                         *Application for Admission
                                         Pro Hac Vice Forthcoming




                                           32
                          Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 36 of 38
                                                       € ~ ►
     SHERIFF ENTRY OF SERVICE

     Civil Action No. 19CV02448JFL003
                                                                                      Superior Court              ✓          Magistrate Court          ❑
     Date Filed:        11/26/2019                                                    State Court                 ❑          Probate Court             ❑
                                                                                      Juvenile Court              ❑
                                                                                      Georgia, Floyd                                 COUNTY
                                                                                        JARROD JOHNSON individually, and on Behalf
       Attorney's Address:
                                                                                        of persons similarly Situated
        Ryals D. Stone
                                                                                                                                                Plaintiff
        5229 Roswell Rd. NE
                                                                                                                      ►~~~
       'Atlanta, GA 30342                                  —
        Email: ryals(aD_stonelaw.com; acia(cD_stonelaw.com
       Name and Address of Party to be Served
                                                                                        3M COMPANY, et al.
       3M COMPANY
                                                                                                                                             Defendant
       c/o Corporation Service Company
       40 Technology Pkwy South #300
       Norcross, Gwinnett County, GA 30092
                                                                                                                                             Garnishee
                                                               SHERIFF'S ENTRY OF SERVICE


¢z       I have this day served the defendant                                                                                          personally with copy
o
cn U of the within action and sumrnons.
Q~
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         I have this day served the defendant                                                                                                     by leaving a
~
p        copy of the action and summons at his most notorious place of abode in this County.
R~
0
         Delivered same into hands of                                                                                                    described as follows
0
z        age, about          years; weight, about               pounds; height, about             feet and            inches, domiciled at the residence of
         defendant.

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¢
t        Served the defendant
                                   3M COMPANY                                                                                                     corporation

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  ~       by leaving a copy of the within action and summons with
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U
         in charge of the office and place of doing business of said Corporation this County.

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~
  ❑❑        I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
~           designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in
x
¢           an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing
            notice to the defendant(s) to answer said summons at the place stated in the summons.


w        Diligent search made and defendant
~        not to be found in the jurisdiction of this Court.
z

         This                day of                                        20


                                                                                                                                                EPUTY
                         Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 37 of 38
                                                      •         t

     SHERIFF ENTRY OF SERVICE
     Civil Action No.        19CV02448JFL003
                                                                                    Superior Court              ✓         Magistrate Court            ❑
     Date Filed:       11/26/2019                                                   State Court                 ❑         Probate Court               ❑
                                                                                    Juvenile Court              ❑
                                                                                    Georgia,_ Floyd                                 COUNTY
                                                                                       JARROD JOHNSON individually, and on Behalf
      Attorney's Address:
                                                                                       of persons similarly Situated
       Ryals D. Stone
                                                                                                                                               Plaintiff
       5229 Roswell Rd. NE
                                                      —                                                             VS.
      'Atlanta, GA 30342
       Email: ryals@stonelaw.com; acia(a@stonelaw.com
      Name and Address of Party to be Served
                                                                                       3M COMPANY, et al.
      3M COMPANY
                                                                                                                                            Defendant
      c/o Corporation Service Company
      40 Technology Pkwy South #300
      Norcross, Gwinnett County, GA 30092
                                                                                                                                            Garnishee
                                                              SHERIFF'S ENTRY OF SERVICE

~       I have this day served the defendant                                                                                         personally with copy
°U       of the within action and summons.
x
w
a.

        I have this day served the defendant
~
                                                                                                                                                 by leaving a
0 ~     copy of the action and summons at his most notorious place of abode in this County.

        Delivered same into hands of                                                                                                    described as follows
o
z       age, about          years; weight, about               pounds; height, about            feet and            inches, domiciled at the residence of
        defendant.



        Served the defendant 3M COMPANY                                                                                                          corporation
         by leaving a copy of the within action and summons with
a
a'
O       in charge of the office and place of doing business of said Corporation this County.
V


           I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
           designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in
           an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing
           notice to the defendant(s) to answer said summons at the place stated in the summons.

~ ®
w       Diligent search made and defendant
z       not to be found in the jurisdiction of this Court.
O
z

        This                day of                                        20



                                                                                                                                            DEPUTY
                           Case 4:20-cv-00008-AT Document 1-1 Filed 01/10/20 Page 38 of 38
                                                                    .                                                                                • F _ !

     SHERIFF ENTRY OF SERVICE
     Civil Action No.         19CV02448JFL003
                                                                                       Superior Court              ✓         Magistrate Court           ❑
                         11/26/2019                                                    State Court                 ❑         Probate Court              ❑
     Date Filed:
                                                                                       Juvenile Court              ❑
                                                                                       Georgia, Floyd                                 COUNTY
                                                                                         JARROD JOHNSON individually, and on Behalf
       Attorney's Address:
                                                                                         of persons similarly Situated
        Ryals D. Stone
                                                                                                                                                 Plaintiff
         5229 Roswell Rd. NE
                                                                                                                       vs.
       ' Atlanta, GA 30342                                              —
       Email: ryals@stonelaw.com; acia(cD_stonelaw.com
       Name and Address of Party to be Served
                                                                                         3M COMPANY, et al.
       3M COMPANY
                                                                                                                                              Defendant
       c/o Corporation Service Company

       40 Technology Pkwy South #300
       Norcross, Gwinnett County, GA 30092
                                                                                                                                              Garnishee
                                                                 SHERIFF'S ENTRY OF SERVICE

         I have this day served the defendant                                                                                           personally with copy
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cn        of the within action and summons.
a                                                                                                                                                            -
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a.

         I have this day served the defendant                                                                                                     by leaving a
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p~       copy of the action and summons at his most notorious place of abode in this County.

         Delivered same into hands of                                                                                                     described as follows
o
z        age, about          years; weight, aboutL               pounds; height, about             feet and           inches, domiciled at the;iesidence of
         defendant.

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°       ~'                         3M COMPANY
H    ,,=" Served the defendant                                                                                                                     corporation
O 0       by leaving a copy of the within action aiid summons with
p        in charge of the office and place of doing business of said Corporation this County.
U
a
~❑ 0         I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
88           designated in said affrdavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in
x
¢            an envelope properly addressed to the defendant(s) at the address sliown in said summons, with adequate postage affixed thereon containing
~            notice to the defendant(s) to answer said summons at the place stated in the summons.

~ ®                                                   '
W        Diligent search made and defendant
p        not to be found in the jurisdiction of this Court.
z

         'rhis t - day of                 ~       r                         20 1{                  f

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                                                                                                                                              DEPUTY




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